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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


LARRY PRIDE, et al.

                Plaintiffs,                   Civil Action No. 1:23-cv-02292-LLA
and

WENCESLAUS PROVOST JR. and
ANGELA PROVOST, both individually and
on behalf of all others similarly situated,

                 Movants,

      v.

THE UNITED STATES DEPARTMENT
OF AGRICULTURE, et al.,

                Defendants.


                    MOVANTS’ MOTION TO CONSOLIDATE CASES
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                                       INTRODUCTION

       Courts routinely consolidate matters arising from the same set of facts, accusing the same

defendants of violating the same laws, and seeking the same relief. Doing so ensures that precious

judicial and party resources are not wasted and that different judges in the same district are not

asked to decide the same issues at the same time. These principles warrant consolidation here.

       Movants Angela and Wenceslaus Provost, Jr. (the “Provost Plaintiffs”) and Plaintiffs Larry

Pride, Victor Lee, Marvin Roddy, Gary Harris, and Chris Anderson (the “Pride Plaintiffs”) both

filed class action lawsuits regarding the discrimination they faced as Black farmers (respectively,

the “Provost Action” and “Pride Action”). Both cases were filed in this district within months of

each other. The Provost Action is pending before the Honorable Judge Timothy J. Kelly. The

Pride Action is pending before the Honorable Judge Loren AliKhan.

       The Provost and Pride Actions share many common factual and legal issues. Both are suits

against the United States Department of Agriculture (“USDA”) and its Secretary (Thomas J.

Vilsack). Both seek to represent a class of Black farmers who have faced discriminatory treatment

and suffered discriminatory impact from the USDA’s administration of direct loan programs. Both

point to (and will seek discovery concerning) specific discriminatory acts by USDA officials,

including: refusing and/or discouraging loan applications by Black farmers; denying Black farmers’

loan applications at a disproportionate rate; subjecting Black farmers to onerous loan terms not

inflicted on White farmers; offering disproportionately less money to Black farmers; and

processing Black farmers’ loan applications much more slowly; among others. Both point to (and

will seek discovery concerning) specific policies and practices that encourage, facilitate, and

outright discriminate against Black farmers. Both already point to statistical evidence showing

that Black farmers’ loans are accepted at a disproportionately lower rate, processed at a




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disproportionately slower rate, and funded at a disproportionately lower amount. Both also rely

on the USDA’s repeated admissions of decades-long discrimination against Black farmers. Finally,

both seek the same remedies: damages, declaratory judgment, and injunctive relief.

       While the Pride Action initially included an issue not present in the Provost Action, that is

no longer so. On August 23, 2024, Judge AliKhan granted in part the USDA’s motion to dismiss

the Pride Action. Now, the only remaining issue in that case is whether the USDA discriminated

against Black farmers when administering direct loans. That issue is wholly subsumed within the

Provost complaint.

       Judicial efficiency and party resources would be conserved by consolidating these matters.

Justice is not advanced by collecting the same documents, deposing the same witnesses, gathering

the same expert testimony, and trying the same case twice. Indeed, such parallel, overlapping

proceedings entail not only waste but the risk of inconsistent results. Having a single judge address

the issue of the USDA’s discrimination in administering direct loans would ensure consistency and

would significantly decrease the burdens on the parties—especially considering that counsel for

the Provost Plaintiffs represent the putative class on a pro bono basis, while Pride counsel does

not. Given the significant overlap between the Provost and Pride Actions, the USDA’s opposition

to consolidation can only be interpreted as a hope that judicial inefficiency—two judges deciding

the same issues at the same time in the same district—will result in inconsistent (and favorable to

the USDA) rulings in at least one of the cases. This is precisely what Federal Rule of Civil

Procedure 42(a) seeks to prevent.

       The Provost and Pride Actions are both at the beginning stages. Judge AliKhan has already

ruled on the USDA’s motion to dismiss the Pride Action, and judicial efficiency would not be

served by having Judge Kelly separately rule on the same arguments. There is no reason to invite




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waste and inconsistency by having two judges in the same district ruling on the same issues in

cases concerning the same parties at the same time. For these and the reasons set forth below, the

Provost Plaintiffs respectfully ask that the Court grant this motion and consolidate the Pride and

Provost Actions.

                                          BACKGROUND

         A.     The Provost and Pride Plaintiffs File Putative Class Actions on Behalf of Black
                Farmers Who Faced Discrimination When Seeking Direct Loans from the
                USDA.

         The Provost Plaintiffs filed this putative class action against the USDA and Secretary

Vilsack in his official capacity (collectively, the “USDA Defendants”). ECF No. 1, Provost v.

Vilsack, No. 1:24-cv-00920-TJK (D.D.C. Mar. 29, 2024) (hereinafter, “Provost”).1 The Provost

Plaintiffs allege, among other things, that the USDA Defendants violated the Equal Credit

Opportunity Act, 15 U.S.C. §§1691 et seq. (“ECOA”) and the Due Process Clause of the Fifth

Amendment to the U.S. Constitution by executing a policy and practice of discrimination against

Black farmers when considering, processing, and granting Farm Service Agency (“FSA”) direct

and guaranteed loans. ECF No. 1. The Provost Plaintiffs seek declaratory judgment, damages,

and injunctive relief. Id., Prayer for Relief. As mentioned above, the case is assigned to Judge

Kelly. The Provost Plaintiffs are represented by highly experienced counsel at Wilson Sonsini

Goodrich & Rosati, P.C. (“Wilson Sonsini”), a firm that is handling the matter pro bono.2 Id. ¶ 206.

         Shortly before the Provost Plaintiffs commenced this action, the Pride Plaintiffs filed a

class action against the USDA Defendants, as well as the FSA and Zach Ducheneaux in his official

capacity as Administrator of the FSA. The Pride complaint similarly alleges violations of the


   1
       Unless otherwise indicated, all ECF entries are to the docket in the Provost case.
   2
    Plaintiffs anticipate that the ACLU of Louisiana will soon appear in this matter as co-
counsel to Wilson Sonsini. It will also be acting in a pro bono capacity.


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ECOA and the Due Process Clause of the Fifth Amendment to the U.S. Constitution arising out of

the USDA’s administration of overlapping FSA direct loan programs. ECF No. 1, Pride v. U.S.

Dep’t of Agric., No. 1:23-cv-02292-LLA (D.D.C. Aug. 8, 2023) (hereinafter, “Pride”). The Pride

Plaintiffs seek the same relief as the Provost Plaintiffs: a declaratory judgment, damages, and

injunctive relief. Id., Prayer for Relief. The case is assigned to the Honorable Judge Loren

AliKhan. Based on meet and confer discussions, counsel for the Pride Plaintiffs are not proceeding

on a pro bono basis. Declaration of Ariel C. Green Anaba, filed concurrently herewith, ¶ 3.

        Although the allegations concerning the USDA’s administration of FSA loan programs

overlap significantly, there are some differences between the Pride and Provost complaints—

though, as will be explained, the broader aspects of the Pride complaint have been dismissed by

Judge AliKhan.

        The Pride complaint alleges that the USDA Defendants discriminated against Black

farmers when administering a market facilitation program. Pride, ECF No. 1 ¶¶ 93, 95. These

allegations are not included in the Provost complaint. Cf. ECF No. 1. Conversely, the Provost

complaint includes allegations that the USDA discriminated against the Provost Plaintiffs and a

putative class of Black farmers when processing and investigating civil rights complaints. See id.

¶¶ 33, 37. Although the Pride complaint points to the USDA’s failure to investigate civil rights

complaints as evidence of discrimination, see Pride, ECF No. 1 ¶¶ 44, 50, it does not appear to

allege that the Pride Plaintiffs faced similar discrimination, cf. id.

        The Provost complaint also includes allegations that the USDA Defendants discriminated

against Black farmers when administering guaranteed FSA loans, and that they allowed county

committee officials to discriminate against Black farmers and abuse their authority in violation of

conflict of interest regulations. See ECF No. 1 ¶¶ 27, 32, 204, 220. These allegations are not




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present in the Pride complaint. Cf. Pride, ECF No. 1. Finally, the Provost Action includes

additional claims for relief that are not present in the Pride Action, all of which arise from the same

factual allegations. Compare ECF No. 1 ¶¶ 216-221, 227-232, 237-241 (including Administrative

Procedure Act, Mandamus Act, and Freedom of Information Act claims), with Pride, ECF No. 1

(not including those claims).

       Accordingly, while both the Pride and Provost complaints have significant overlap when

it comes to allegations stemming from discrimination in the administration of FSA direct loan

programs, there was not complete overlap at the time of filing either complaint.

       B.      The Provost and Pride Plaintiffs Seek to Relate Both Actions and the USDA
               Defendants Object.

       Notwithstanding the differences between the Provost and Pride Actions, both the Pride

Plaintiffs and Provost Plaintiffs agree the cases are related and so informed the Court. See ECF

No. 26; Pride, ECF No. 39. In particular, both the Provost Action and Pride Action seek to certify

classes of Black farmers who have been harmed by the USDA’s execution of discriminatory

policies and practices against Black farmers when administering FSA direct loans. Compare ECF

No. 1 ¶ 199 (“All Black farmers whose farm loan applications were delayed and/or denied on

account of race within the last five years”), and id. ¶ 201 (Black farmers who “had their

applications denied or reduced within the last five years based on delinquent USDA debts that the

USDA has acknowledged should be forgiven on account of past discrimination”), with Pride, ECF

No. 1 ¶ 115 (all Black farmers and ranchers who applied for a direct loan that was subject to

“unreasonable or unwarranted denial or coerced withdrawal[,] … unreasonable or undue delays or

requests during loan application processing[, or] received a loan but with unfavorable terms, such

as lower principal amount”). Given the significant overlap between the two proposed classes, the




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Provost and Pride Plaintiffs filed notices of related cases in accordance with the Local Rules. See

ECF No. 26; Pride, ECF No. 39.

          The USDA Defendants objected to relation. Despite an earlier admission that the Provost

and Pride Actions have overlapping classes,3 the USDA Defendants insist that admitted overlap

does not matter because the individual plaintiffs in both actions are different. See ECF No. 27;

Pride, ECF No. 40.

          C.     The USDA Defendants Move to Dismiss Both Actions for the Same Reasons.

          On November 27, 2023, the USDA Defendants moved to dismiss the Pride complaint for

failure to state a claim (the “Pride Motion to Dismiss”). Pride, ECF No. 31-1. Among other

arguments, the USDA Defendants argued the Pride complaint should be dismissed because the

Pride Plaintiffs’ claims are untimely, the Pride complaint fails to allege purposeful discrimination,

and the Rule 23 requirements cannot be met because of individualized issues. Id. at 11-12, 15-17.

          On June 24, 2024, the USDA Defendants filed a partial Motion to Dismiss the Provost

complaint for failure to state a claim (the “Provost Motion to Dismiss”). ECF No. 25. The Provost

Motion to Dismiss rehashes the same arguments in the Pride Motion to Dismiss, except the USDA

acknowledged that some ECOA claims were well-pleaded in the Provost complaint. Id. at 9-10,

16, 21.


   3
     When moving to dismiss (discussed infra), the USDA Defendants agreed the cases had
significant overlap, writing:
                 [The Provost] Plaintiffs’ first proposed class, defined as “All Black
                 farmers whose farm loan applications were delayed and/or denied
                 on account of race within the last five years,” largely overlaps with
                 the proposed class in Pride v. USDA … proposing to represent a
                 class of farmers who “received inferior service or were denied
                 access to credit” by USDA in the administration of its direct loan
                 program[.]
ECF No. 25 at 22.


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       D.      Judge AliKhan Denies the USDA Defendants’ Motion to Dismiss the Pride
               Action’s Direct Loan Discrimination Claims—the Very Claims that the USDA
               Defendants Admit Overlap with Those in the Provost Action.

       On August 23, 2024, Judge AliKhan issued her decision on the Pride Motion to Dismiss.

Pride v. U.S. Dep’t of Agric., 2024 U.S. Dist. LEXIS 151033 (D.D.C. Aug. 23, 2024). For the

most part, Judge AliKhan denied the USDA Defendants’ attempt to dismiss the Pride Plaintiffs’

ECOA and due process putative class claims based on alleged discrimination in the administration

of FSA loans. See id. at *21-30. But she dismissed as moot claims of alleged discrimination in

the USDA’s administration of a market facilitation program that expired years ago. See id. at *34.

Accordingly, as of now, all remaining claims in the Pride Action fall wholly within those alleged

in the Provost Action—i.e., they all concern alleged discrimination against Black farmers in the

administration of the USDA’s direct loan programs.

       The Provost Plaintiffs intend to file an amended complaint on or before September 16,

2024, which will maintain allegations of discrimination in the administration of FSA direct and

guaranteed loan programs (including allegations the USDA has already acknowledged are well-

pleaded). See ECF No. 30. If the USDA Defendants file another motion to dismiss on similar

grounds, that would require Judge Kelly to address nearly identical arguments raising the same

issues of law and arising out of overlapping allegations as were just decided by Judge AliKhan.

Indeed, the USDA Defendants previously acknowledged that the Pride and Provost Actions’

respective “putative class definitions” concerned “common issues” and that the USDA Defendants’

motions to dismiss in both cases were premised on the same legal arguments (i.e., that those class

definitions were purportedly inadequate under Rule 23). ECF No. 27 at 2; see also ECF No. 25 at

22; Pride, ECF No. 40 at 2. These arguments were rejected by Judge AliKhan. See Pride, 2024

U.S. Dist. LEXIS 151033, at *22-23.




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         E.     The Provost and Pride Actions Are in a Similar Procedural Posture.

         Both the Provost Action and Pride Action are in a similar procedural posture. Deadlines

for class certification in both cases are currently stayed. ECF No. 30; Pride, 2024 U.S. Dist.

LEXIS 151033, at *23. The USDA Defendants have not answered either complaint.4 There is no

scheduling order in either case. There has been no discovery in either action. Discovery is required

before either the Provost Plaintiffs or Pride Plaintiffs could seek class certification. And the

overlap in the discovery necessary to support certification is great.

         Both the Provost Plaintiffs and Pride Plaintiffs seek to certify classes of Black farmers who

have faced discrimination in the administration of FSA direct loan programs. ECF No. 1 ¶¶ 199-

207; Pride, ECF No. 1 ¶¶ 113-125. To support their class allegations, both the Provost Plaintiffs

and Pride Plaintiffs already relied on statistics and demographic data from the USDA, and both

will rely on additional statistics and demographic data to be pursued in discovery to support class

certification. Both already rely on the USDA’s public admissions of discrimination against Black

farmers,5 and both will certainly rely on private communications, memoranda, investigations, and

other documents concerning discrimination against Black farmers that can only be obtained

through discovery. Both already rely on USDA policies that have encouraged and facilitated

discrimination against Black farmers for decades,6 and both will rely on handbooks, instructions,

and other policies and practices to be obtained through discovery.            Both already rely on

testimonials from Black farmers who have faced discrimination,7 and both will rely on additional



   4
     Defendants’ answer to the remaining claims in the Pride complaint is due on or before
September 6, 2024. Pride, 2024 U.S. Dist. LEXIS 151033, at *35.
   5
       ECF No. 1 ¶¶ 38-41; Pride, ECF No. 1 ¶¶ 52-77.
   6
       ECF No. 1 ¶¶ 214, 220, 224, 231-232, 235; Pride, ECF No. 1 ¶¶ 136-139.
   7
       ECF No. 1 at 22-89; Pride, ECF No. 1 at 40-43.


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testimonials to be gathered through discovery. Both already rely on statements by USDA officials,8

and both will undoubtedly seek further discovery and testimony from top USDA officials,

including Secretary Vilsack, Administrator Zach Ducheneaux, and other key officials responsible

for the policies and practices that lead to rampant discrimination against Black farmers. Finally,

both will rely on expert witnesses to crunch the data and support what the USDA has already

admitted: longstanding, systemic discrimination against Black farmers. Pride, 2024 U.S. Dist.

LEXIS 151033, at *6 (“This history—and its devastating impacts on Black farmers—is not in

dispute.”).

         Although the Provost Action includes additional issues than are present in the Pride Action,

there is considerable overlap with respect to allegations of the USDA’s administration of FSA

direct loan programs. Indeed, allegations that the USDA has discriminated in the administration

of FSA direct loan programs are the only claims that remain in the Pride Action—in other words,

the Pride Action is entirely subsumed within the Provost Action. To preserve judicial economy

and party resources, the Provost Plaintiffs hereby move to consolidate their action with the Pride

Action before the Honorable Judge Loren AliKhan.

                                       LEGAL STANDARD

         Federal Rule of Civil Procedure 42(a) provides that “[i]f actions before the court involve a

common question of law or fact, the court may ... consolidate the actions[.]” Fed. R. Civ. P. 42(a).

The Local Rules of this Court require any motion to consolidate to be heard and decided by the

judge to whom the earlier-numbered case is assigned. D.D.C. L.R. 40.5(d).

         “Consolidation of actions under Rule 42(a) is ‘a valuable and important tool of judicial

administration.’” Hanson v. District of Columbia, 257 F.R.D. 19, 21 (D.D.C. 2009) (quoting


   8
       ECF No. 1 ¶¶ 18(c), 41, 204, 224; Pride, ECF No. 1 ¶¶ 53, 54, 59, 61, 79, 80.


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Devlin v. Transportation Commc’n Int’l Union, 175 F.3d 121, 130 (2d Cir. 1999)). It helps to

“relieve[] the parties and the Court of the burden of duplicative pleadings and [c]ourt orders.” Id.

(quoting New York v. Microsoft Corp., 209 F. Supp. 2d 132, 148 (D.D.C. 2002)).

       Courts have discretion to determine whether consolidation is appropriate and, when doing

so, consider both equity and judicial economy. See Hanson, 257 F.R.D. at 21. If “‘savings of

expense and gains of efficiency can be accomplished without sacrifice of justice,’ a court may find

the actions merit consolidation.” Id. (citation omitted). In short, “courts weigh considerations of

convenience and economy against considerations of confusion and prejudice.” Chang v. United

States, 217 F.R.D. 262, 265 (D.D.C. 2003).

       “In deciding whether to consolidate, courts must ‘weigh the risk of prejudice and confusion

wrought by consolidation against the risk of inconsistent rulings on common factual and legal

questions, the burden on the parties and the court, the length of time, and the relative expense of

proceeding with separate lawsuits if they are not consolidated.’” Royer v. Fed. Bureau of Prisons,

292 F.R.D. 60, 61 (D.D.C. 2013) (quoting Nat’l Ass’n of Mortg. Brokers v. Bd. of Governors of

Fed. Reserve Sys., 770 F. Supp. 2d 283, 286 (D.D.C. 2011)). “[C]onsolidation is particularly

appropriate when the actions are likely to involve substantially the same witnesses and arise from

the same series of events or facts.” Hanson, 257 F.R.D. at 21.

                                          ARGUMENT

       Consolidation is warranted. Both cases involve the same defendants and overlapping

proposed classes. The cases arise from the same series of events or facts and are likely to involve

substantially the same witnesses. See Hanson, 257 F.R.D. at 21. Consolidation would result in

considerable cost savings to the parties, as well as significant judicial economy for this Court,

without any sacrifice of justice. Courts within this District routinely consolidate actions involving




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common questions of law or fact. See, e.g., Royer, 292 F.R.D. at 62 (granting motion to consolidate

where plaintiff’s claims arose “from the same general facts, involve[d] the same parties, and [were]

generally at the same stage of litigation”); Minute Order, Milton S. Hershey Medical Center v.

Becerra, No. 1:23-cv-01382-JDB (D.D.C. Oct. 13, 2023) (granting motion to consolidate where

the court found that “the cases involve common question[s] of law” (internal quotations omitted));

Kamkongkaeo v. Islamic Republic of Iran, 2021 U.S. Dist. LEXIS 271767, at *2 (D.D.C. Nov. 10,

2021) (granting motion to consolidate where the cases involved related plaintiffs, the same

defendant, and arose from the same claims and events). Such circumstances exist here.

I.     THERE IS A SIGNIFICANT RISK OF INCONSISTENT RULINGS ON COMMON
       FACTUAL AND LEGAL ISSUES IF THE CASES ARE NOT CONSOLIDATED.

       A primary goal of consolidation is “preventing potentially inconsistent rulings[.]” Judicial

Watch, Inc. v. United States Dept. of Energy, 207 F.R.D. 8, 9 (D.D.C. 2002). As one court

concluded, “[e]ven if consolidation did pose a risk of prejudice or confusion, the need to avoid

inconsistent rulings outweighs such risk,” especially where “[b]oth cases involve demands for

broad injunctive relief” and “inconsistent rulings could lead to disparate [government]

obligations[.]” Troupe v. Barbour, 2016 U.S. Dist. LEXIS 189218, at *8-9 (S.D. Miss. Dec. 6,

2016). Such concerns are implicated here.

       Given the significant factual and legal overlap between the Provost and Pride Actions, there

is a heightened risk of inconsistent rulings if the cases are not consolidated. Both actions present

identical questions of fact, including, but not limited to:

          Does the USDA discourage Black farmers from applying for direct loans when
           compared to treatment of and/or outreach to other races?

          Does the USDA delay processing Black farmers’ loans when compared to processing
           times for other races?

          Does the USDA disproportionately deny Black farmers’ loans when compared to
           applicants of other races?


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             Does the USDA offer worse loan terms to Black farmers as opposed to applicants of
              other races?

             Does the USDA offer disproportionately less money to Black farmers when compared
              to applicants of other races?

             Are the USDA’s policies and procedures designed to permit and/or facilitate
              discrimination against Black farmers?

Similarly, both the Provost and Pride Actions present identical questions of law, including, but not

limited to:

             Should the class allegations be stricken under Rule 23(f) for failure to meet Rule 23’s
              requirements?

             Should a class of Black farmers who have faced discrimination when seeking a direct
              loan be certified?

             Do equitable exceptions to the ECOA statute of limitations apply for discriminatory
              acts suffered earlier than five years ago?

             What discovery into internal USDA policies, practices, and communications should be
              permitted?

             Should the Court grant injunctive relief to change the policies and procedures that have
              led to discrimination against Black farmers that the USDA acknowledged as recently
              as 2021?

       Judge AliKhan already answered the first legal question with a definitive “no.” See Pride,

2024 U.S. Dist. LEXIS 151033, at *23 (concluding “whether a plaintiff has satisfied the

requirements under Rule 23 for a class action is not an appropriate inquiry at the motion to dismiss

stage”) (quoting Dochak v. Polskie Linie Lotnicze LOT S.A., 189 F. Supp. 3d 798, 809 (N.D. Ill.

2016)). The USDA Defendants’ resistance to consolidation can only be interpreted as a desire for

Judge Kelly to reach an inconsistent ruling. But “[t]he ill that Rule 42(a) seeks to avoid is the risk

of inconsistent rulings in the cases subject to consolidation, and that is the risk that consolidation

will avoid here.” Trs. of the IAM Nat’l Pension Fund v. Ohio Magnetics, Inc., 2021 U.S. Dist.

LEXIS 133454, at *9 (D.D.C. Jul. 16, 2021).



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          This pattern of one decision trailing (and, potentially, conflicting with) another will only

continue if the cases are not consolidated, with Judge AliKhan rendering decisions on discovery,

class certification, summary judgment, Daubert motions, motions in limine, trial, and post-trial

motions slightly ahead of Judge Kelly’s decisions on the same issues in the same district at the

same time. The Court neither must, nor should, engage in such judicial inefficiency or invite such

a risk of inconsistent rulings. “Far from rendering … litigation more unwieldy, consolidation …

increase[s] efficiency by reducing the possibility of duplicative discovery and by achieving judicial

economy in the adjudication of potentially dispositive motions involving similar material facts, a

single group of actors present during the events at issue, and common questions of law.” Chang,

217 F.R.D. at 266-67. To avoid the ill of potentially inconsistent rulings, consolidation is

warranted here.

II.       CONSOLIDATING WOULD DECREASE THE BURDEN AND EXPENSE OF
          SEPARATE LITIGATION ON THE PARTIES AND THE COURT.

          Significant burden and expense can be spared through consolidation. Both the Provost and

Pride Plaintiffs will seek the same documents and written discovery regarding the policies and

procedures surrounding direct loans, investigations of discrimination complaints,9 demographic

data for loan applicants and recipients, the time it took to process the applications, and the terms

of each loan, among other things. See supra at 8-9. Deposition of the USDA Defendants in both

the Provost and Pride Actions will overlap significantly—if not entirely. And, because both the

Provost Plaintiffs and Pride Plaintiffs seek to certify classes of Black farmers, there likely will be

significant overlap between plaintiff-side witnesses as well. Finally, both at the class certification


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     Again, although the Pride Action does not appear to include allegations that the Pride
Plaintiffs faced discrimination in the investigation of civil rights complaints against the USDA,
supra at 4, the Pride complaint does point to evidence of discrimination in the processing of civil
rights complaints to support its overall claims of discrimination, see Pride, ECF No. 1 ¶¶ 44, 50.


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and the merits stage, expert witness testimony will be required. It makes no sense to have multiple

experts prepare reports, offer testimony, and eventually testify about the same issues within the

same district at the same time. Consolidation would greatly decrease the burden on both the Court

and the parties. It would also maximize recovery for the class.

        This is especially true considering that counsel for the Provost Plaintiffs are proceeding on

a pro bono basis, whereas counsel for the Pride Plaintiffs are not. Any potential relief to the class

risks being diminished by the fees incurred by the Pride Plaintiffs’ counsel separately litigating

these issues. The same is not true of the Provost Action. Consolidating the Provost and Pride

Actions would allow the Pride Plaintiffs to benefit from the pro bono representation offered by

counsel in the Provost Action before certification. For this additional reason, consolidation of the

two cases has the significant potential of decreasing the burden on the existing parties and any

future, certified class.

        Finally, the parties have fully briefed the USDA’s pleadings challenge to the Pride Action,

which Judge AliKhan has now resolved. See Pride, 2024 U.S. Dist. LEXIS 151033. If not

consolidated, Judge Kelly will have to duplicate that work, either to merely reach the same result

(making that work purely inefficient) or, worse, to reach a different result (thereby creating the

inconsistent rulings that consolidation is meant to avoid). Consolidation avoids this judicial

inefficiency.

III.    CONSOLIDATION WOULD REQUIRE MINIMAL EXTENSION OF THE TIME
        NECESSARY TO RESOLVE THE PROVOST AND PRIDE ACTIONS.

        Both the Provost and Pride Actions are at the same stage of litigation—pre-answer and pre-

discovery. If consolidated, the USDA Defendants will have to consider whether to pursue, in a

new motion directed toward the Provost Plaintiffs’ First Amended Complaint (to be filed

September 16, 2024), arguments that already failed before Judge AliKhan. Even if the USDA



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Defendants take a second bite at the proverbial apple, any delay would be minimal, and discovery

could proceed shortly thereafter. As the Court concluded in Hanson, “any delay caused to the

plaintiffs [from resolution of additional claims] would not be significant, as both cases are still in

their nascent stages.” Hanson, 257 F.R.D. at 22. Thus, even if the Pride Plaintiffs had to wait a

few additional months to start class discovery, that minimal delay is far outweighed by the

efficiencies and cost savings to be achieved through consolidation, especially considering that

counsel for the Provost Plaintiffs have offered their services pro bono.

IV.     THERE IS NO RISK OF PREJUDICE OR CONFUSION IF THE CASES ARE
        CONSOLIDATED.

        Consolidation would decrease the risk of prejudice and confusion. Although the Pride

Action was filed a few months earlier and the Provost Action includes claims not present in the

Pride Action, consolidation would capture any statute of limitations differences between the two

cases. See Chang, 217 F.R.D. at 266. Moreover, if consolidated—and, especially, if combined

into one action wherein the Provost Plaintiffs’ counsel served as lead counsel—the Pride Plaintiffs

not only would benefit from pro bono representation, but they also would benefit from the

additional claims asserted in the Provost Action, including under the Administrative Procedure and

Mandamus Acts.

        If not consolidated, the Provost and Pride Actions would proceed simultaneously, both

reaching out to potential class members about the same thing: one class pursuing fewer claims for

profit, the other pursuing more claims pro bono. The risk of potential confusion to class members

is great. Consolidation avoids these risks and forces a decision as to who is best suited to represent

the interests of the class.




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                                          CONCLUSION

       For the foregoing reasons, the Court should grant this Motion and consolidate actions 1:24-

cv-00920 and 1:23-cv-02292.

                                RULE 7(M) DUTY TO CONFER

       On August 23, 2024, counsel for the Provost Plaintiffs sent emails to counsel for the

Provost Defendants (Vilsack, et al.) to determine if there was any opposition to this Motion to

Consolidate. Counsel for Defendants Vilsack, et al. oppose the motion to consolidate. Also on

August 23, 2024, counsel for the Provost Plaintiffs sent emails to counsel for the Pride Plaintiffs

to determine if they consented to or opposed this Motion to Consolidate Cases. Counsel for the

Pride Plaintiffs indicated that they would “likely” object “to the filing of a consolidated complaint.”



Dated: August 26, 2024                              Respectfully Submitted,
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